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Exhibit 5
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY
LITIGATION ,

 

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) CASE NO.

) 04-10981
THIS DOCUMENT RELATES . TO: )
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RUTH SMITH, Individually and as
Widow for the use and benefit of
herself and the next of kin of
Richard Smith, deceased.

05-CV-11515

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VIDEOTAPED DEPOSIT 4

LEWIS WESLEY Ae Ii, PHARM.D.

Taken on penalfN
October © 7

the Defendant

 

 

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1 surgery; is that a fair statement?

2 . MR. SOH: Objection to form.

3 MR. FERGUSON: Okay.

4 MR. SOH: That's leading. But if he

5 can answer it, go ahead.

6 BY MR. FERGUSON:

7Q. — Is-- is that -- is that correct?

8A. Restate the question, please.

9Q. Sure. My understanding of what you told
10 us a moment ago is that his pain, in terms of what
1] he told you about, was no different in the couple
12 of months before his death as it — as compared to
13 the first several months of 2003?

14 MR. SOH: Objection, form.

15 THE WITNESS: He didn't complain of
16 any increased pain --

17 BY MR. FERGUSON:

18Q. Okay.

19A. — -- over the period.

20Q. Fair enough.

21 Did you at some point become aware that —
22 that Mr. Smith was taking a drug called Neurontin?
23A. Yes.

24Q. And do you recall about when that was?

25 Again, I'm not expecting you to know a specific

20

1 you — we talked about earlier?

2A. No.

3Q. Okay.

4A. Hehad never come to me, but that wasn't

5 unusual.

6Q. _ Right.

7A. Right.

8Q. You indicated that he occasionally would
9 come to you about some medications?
10A. Right.
11Q. At least before May 8th of 2004, that had
12 never occurred with respect to Neurontin?
13A. Correct.
14Q. And —and I take it from — from your
15 answer as well that you had never learned before
16 May 8th of 2004 from another source such as
17 Ruth Smith or your wife, Donna, from any other
18 source that he had been on Neurontin?

19A. Correct.
20Q. And how did it come about on May 8th of
21 2004 that you learned that Richard was taking a
22 medication called Neurontin?
23A. Hecame tome. We were at a gathering at
24 Sherri's house. I think it was somebody's
25 birthday, and we had - I think we had eaten

 

19
1 date. But can you remember the general time frame
2 when you became aware that he was taking
3 Neurontin?
4A. I believe it was the Sunday before he
5 committed suicide.
6Q. Okay. And -- and as I recall, the -- he
7 died on May the 13th; is that correct?
8A. Yes.
9Q. And I believe that was a Thursday; am I
10 correct about that?
11A. Yes.
12Q. Socounting back, if I can count
13 correctly -- maybe you can help me. What does
14 that make Sunday, the 8th or 9th?
15 MS. KOLB: The 8th, I think.
16 MR. FERGUSON: Thank you.
17 BY MR. FERGUSON:
18Q. About the 8th of May was the first time
19 that you learned that Richard Smith had ever been
20 on Neurontin; is that correct?
21A. Yes.
22Q. So -- and we'll talk about how you became
23 aware of that on that date. But obviously before
24 May 8, Richard had never come to you and asked
25 about Neurontin in relationship to side effects as

 

21
1 already, and we were just talking. -
2 He pulled me aside and asked me about --
3 he didn't ask me about side effects. He described
4 side effects to me and asked if I thought it was
5 the Neurontin.
6Q. Tell me what side effects he described to
7 you, please.
8A. He told me that he was feeling loopy. He
9 did not feel like himself since taking the
10 Neurontin.
11Q. Did he tell you on that day, May 8th of
12 2004, how long he had been taking Neurontin?
13A. No.
14Q. Did he tell you anything about what dosage
15 of Neurontin he was taking?
16A. No.
17Q. He simply said that he was taking
18 Neurontin, and he felt loopy and didn't feel like
19 himself?
20A. Yes.
21Q. Any other side effects that he described
22 to you on -- during that conversation on May 8th
23 of 2004?
24A. Not that I recall.
25Q. And did he either volunteer or did you.ask

 

 

 

6 (Pages 18 to 21)

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